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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                            March 11, 2024
                          _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
 JOSHUA F. YOUNG,

       Plaintiff - Appellant,

 v.                                                           No. 23-1063
                                                 (D.C. No. 1:22-CV-00145-NYW-KLM)
 COLORADO DEPARTMENT OF                                        (D. Colo.)
 CORRECTIONS; DEAN WILLIAMS;
 JILL HUNSAKER RYAN,

       Defendants - Appellees.
                       _________________________________

                                     JUDGMENT
                          _________________________________

 Before TYMKOVICH, MATHESON, and CARSON, Circuit Judges.
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       This case originated in the District of Colorado and was argued by counsel.

       The judgment of that court is affirmed.


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk
